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                     EXHIBIT 5C




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 7

 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                         SAN JOSE DIVISION
11 APPLE INC., a California corporation,

12                Plaintiff,
                                                    CASE NO. 12-CV-00630-LHK
13         v.
14 SAMSUNG ELECTRONICS CO., LTD., a                 DECLARATION OF JIM MILLER
   Korean corporation; SAMSUNG
15 ELECTRONICS AMERICA, INC., a New                 FILED UNDER SEAL
   York corporation, and SAMSUNG
16 TELECOMMUNICATIONS AMERICA,                      HIGHLY CONFIDENTIAL –
   LLC, a Delaware limited liability company,       ATTORNEYS’ EYES ONLY
17
                 Defendants.                        CONFIDENTIAL BUSINESS
18                                                  INFORMATION OF NON-PARTY
   SAMSUNG ELECTRONICS CO., LTD., a                 GOOGLE INC.
19 Korean corporation; SAMSUNG
   ELECTRONICS AMERICA, INC., a New
20 York corporation, and SAMSUNG
   TELECOMMUNICATIONS AMERICA,
21 LLC, a Delaware limited liability company,

22                Counterclaim-Plaintiff,
23         v.
24 APPLE INC., a California corporation,

25                Counterclaim-Defendant
26

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 1 I, Jim Miller, declare as follows under 28 U.S.C. § 1746:

 2          1.     I am a Senior Software Engineer for Google Inc. (“Google”). I have personal

 3 knowledge of the facts stated below, and if called to testify, I could and would testify as follows.

 4          2.     I have been employed at Google since 2007. I work on the Android team. As part

 5 of my work on Android, I was involved in developing some portions of version 4.0 of Android,

 6 which is also called Ice Cream Sandwich.

 7          3.     Within Android Ice Cream Sandwich, there are many versions of Android. Some

 8 versions are internal to Google; others are posted on the Android Open Source Project; still other

 9 versions are used in devices sold to consumers. One device sold to consumers running a version

10 of Android Ice Cream Sandwich is the Samsung Galaxy Nexus. For the rest of this declaration, I

11 will discuss the version of Android Ice Cream Sandwich running on the Samsung Galaxy Nexus.

12 There are actually several sub-versions of Android Ice Cream Sandwich running on the Samsung

13 Galaxy Nexus, but do not vary with regard to my descriptions below.

14          4.     Under certain circumstances, such as a period of time without any input from the

15 user, the Samsung Galaxy Nexus will stop displaying information on its internal screen.

16          5.     Under those circumstances, if the user presses the power button on the right side of

17 the phone, what happens next will depend on how the user has configured the device. The user

18 could configure the device to return to the Activity that was foremost on the device before the

19 screen turned off. Should the user wish to do so, however, he or she could also configure the

20 Samsung Galaxy Nexus to present instead one of five screensaver-type interfaces. Each of these

21 screensaver-type interfaces allows the user to engage in further actions before returning the user to

22 the Activity that was previously foremost on the device.

23          //

24          //

25          //

26          //

27          //

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 1          6.      First, the user can select an interface that uses the front-facing camera on the

 2 Samsung Galaxy Nexus to match the user’s face against previously stored information. Second,

 3 the user can select an interface that prompts the user to enter a personal identification number, or

 4 “PIN.” Third, the user can select an interface that prompts entry of a password. Fourth, the user

 5 can select an interface that prompts the user to manipulate graphical elements to enter a pattern.

 6 Fifth and finally, the user can select this screensaver-type interface:

 7          7.      The screenshot above shows the screensaver interface as it could appear

 8 immediately after the user has pushed the power button on the Galaxy Nexus. Centered near the

 9 bottom of the screen is an icon representing a padlock, surrounded by a circle. On the Samsung

10 Galaxy Nexus, this picture is stored at

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23          8.      When the user taps near the picture
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25

26                   causes the Samsung Galaxy Nexus to stop displaying the picture
27

28                                causes the Samsung Galaxy Nexus to start displaying a second, new

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